The opinion in the case against the Independent Steamboat Company covers substantially all the questions which arise in this case, and but little more needs now to be written. The complaints in both cases are substantially alike, and so are the judgments rendered, except that the individual defendants in this case were by their own consent enjoined with the other defendants and they have not appealed.
The ferry established by the city, and operated under it, ran between the foot of White Hall street in the city and New Brighton, Sailors' Snug Harbor, West Brighton, Port Richmond, Elm Park, all places on the north shore of Staten Island; and the unauthorized ferry operated by the Independent Steamboat Company ran between pier 18 on the Hudson river in the city, and the same places on the shore of Staten Island. The ferry operated by the New Jersey Steamboat *Page 30 
Transportation Company started from the same pier in the city, and ran thence to the city of Bayon in the State of New Jersey, on the north shore of the Kill Von Kull to West Brighton, thence to Port Richmond, thence to Elm Park, and thence to Elizabeth Port, New Jersey, then it returned, stopping at the same places, to the same pier, the round trip being about twenty-four miles.
The right of the defendant to operate a ferry between the city and any places on the coast of New Jersey is not involved in this action. The sole question is whether it had the right to operate the ferry between the city and Staten Island.
The fact that the terminus of the ferry in the city was at a private pier seven-eighths of a mile distant from the ferry terminus established by the city, can make no difference. The city, in the discharge of its duty as the owner of the ferry franchises, was not bound to have more than one terminus for its Staten Island ferries in the city. It is not shown nor claimed that more than one was needed there for the accommodation of the public; and it does not appear that passengers and freight were not sufficiently accommodated by the terminus established by the city.
The distance of Elm Park, or even of Elizabeth Port, from the city is not so great that a ferry could not be established and operated between it and the city. Ferries to Elizabeth Port have been operated and known as ferries for more than 100 years, and it appears never to have been doubted that ferries could be operated between the two places.
It is impossible, in a general way, to specify to what distance, over intervening waters, ferries may be operated. A ferry could not be established between New York and Boston or New York and Newport or Philadelphia. The distance would be too great and the business of transporting passengers and freight between such distant places would be that of common-carriers upon public waters. But when the intervening waters are not wide and can be traversed at regular and brief intervals by boats adapted to a ferry business, there can be no question that ferries may be established and operated. *Page 31 
The business of the defendant did not lose its character as a ferry business because its boats in their passages stopped at places upon the New Jersey shore as well as at places upon the Staten Island shore. It was undoubtedly engaged in a ferry business between every point at which its boats touched for passengers and the city. In the carriage of passengers from one place on the New Jersey shore or the Staten Island shore to other places on the same shore, it was simply doing the business of a common carrier as its boats did not pass over intervening waters. But in going from the city its boats could leave passengers from the city at each of the places at which they stopped, and so in returning they could take passengers at each of the places and carry them to the city, and in doing this they would be engaged in a ferry business. There is nothing in the nature of a ferry business which requires that a ferry should be operated from but one place upon one shore to a single place upon the opposite shore.
There was nothing in the structure of the defendant's boats which deprived them of the character of ferry boats. They were adapted to carry travelers with their horses, vehicles and other property, and hence they could engage in a ferry business.
So, too, it cannot be successfully contended that the city could not lawfully establish a ferry which was to run from one place in the city to several places on Staten Island. If it had a single franchise for but one ferry between it and Staten Island, perhaps it could not do so, but as it owned all the franchises between it and Staten Island it could discharge its duty to the public as owner by establishing one ferry with as many termini upon the shores of Staten Island as there were landing places. Different questions would be presented for consideration if the Staten Island Rapid Transit Railroad Company were plaintiff claiming a franchise simply to run a ferry between the city and Staten Island.
We, therefore, see no reason to distinguish this case from that against the Independent Steamboat Company. The judgment in this case as in that is too broad and it should be *Page 32 
modified as to the restraint imposed so as to restrain the company from maintaining and operating a ferry between the city and Staten Island, and affirmed, as thus modified, without costs to either party upon this appeal.
All concur.
Judgment accordingly.